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                          UNITED STATES BANKRUPTCY COURT
                             WESTERN DISTRICT OF TEXAS
                                   AUSTIN DIVISION

  IN RE:                                      §
                                              §      CASE NO. 21-10436-TMD
  MARY BRENNA RYLEE                           §
                                              §
                                              §      CHAPTER 11
  DEBTOR.                                     §

     SUB V TRUSTEE’S RECOMMENDATIONS TO CONFIRMATION OF PLAN OF
                 REORGANIZATION UNDER 11 U.S.C. § 1191(b)

  TO THE HONORABLE TONY M. DAVIS,
  UNITED STATES BANKRUPTCY JUDGE:

         Now comes Michael G. Colvard, Subchapter V Trustee (herein “Sub V Trustee”) within

  the Mary Brenna Rylee (herein “Rylee” or “Debtor”) Small Business Chapter 11 case, to file this

  Recommendations to Confirmation (the “Recommendations”) of the Plan of Reorganization,

  Dated September 13, 2021 (the “Plan”) [Dkt. No. 93], and would show unto the court as follows:

                                     I.     BACKGROUND

         1.1    Rylee filed a Chapter 11 Sub V small business case on May 31, 2021 [Dkt. No. 1].

  The Sub V Trustee was appointed on June 2, 2021 [Dkt. No. 13].

         1.2    Rylee filed her Plan of Reorganization on September 13, 2021 [Dkt. No. 93] (the

  “Plan”). The Confirmation Hearing is set for October 25, 2021 at 10:00 a.m. [Dkt. No. 94].

         1.3    The Plan provides for treatment of creditors within six primary classes, including

  Class 1 – Tax Claims; Class 2 – Secured Claims, secured by liens on Debtor’s homestead; Class

  3 – General Unsecured Claims; Class 4 – Contingent Flex 24 Unsecured Claims; Class 5 –

  Contingent FLX Unsecured Claims; and, Class 6 – Interest holders.

         1.4    The Plan attaches “Projections” as Exhibit C – (the “Projections”), providing

  Debtor’s foreseeable budget and income for Flex 24 Fitness, LLC, on an annual basis for 5 years,


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  representing what Sub V Trustee understands as Debtor’s estimate of future “disposable income”

  – derived from Flex 24, showing projected disposable income of ($212,55640) in year 1,

  $179,062.08 in year 2; $251,505.08 in year 3; $280,829.08 in year 4; and, $311,676.08 in year 5.

  The projections include deductions for wages – which presumably includes Debtor’s

  compensation. The Plan also reveals Debtor’s available cash and IRS refunds, and reflects the

  estimated FMV of Debtor’s homestead – which is to be liquidated with net proceeds made

  available for creditor distributions. Debtor anticipates $1.6 million in equity and sales proceeds

  derived from the homestead sale.

         1.5     The Plan proposes the following treatment of allowed claims within Classes 1-6:

                 1.     Class 1 – Tax Claims – to retain all liens and to be paid in full within 14

                        days after closing of the sale of Debtor’s homestead.

                 2.     Class 2 – Secured Claim – SouthStar Mortgage is the only secured claimant,

                        and will be paid in full upon closing of the sale of the Debtor’s homestead

                        with post-effective date monthly payments to be paid 53% by Debtor and

                        47% by Debtor’s spouse.

                 3.     Class 3 – General Unsecured Claims – to be paid in full with interest within

                        14 days following the sale of Debtor’s homestead.

                 4.     Class 4 – Contingent Flex 24 Unsecured Claims – consisting primarily of

                        the guaranty obligations owed to AMB – based on Debtor’s guaranty –

                        which are to be paid pursuant to a renewal and modification agreement –

                        which payments are to be satisfied by Flex 24 – outside the Plan.

                 5.     Class 5 – Contingent FLX Unsecured Claims: consisting of the claims: one

                        by AMB based on Debtor’s guaranty, and two by GTG based upon a



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                          pending state court lawsuit. Debtor has entered a settlement agreement

                          transferring here interests in FLX to her spouse in exchange for a release of

                          the      AMB   guaranty.     Debtor    is   contributing     $75,000.00   for

                          litigation/settlement in relation to the GTG lawsuit.

          1.6     Debtor plans to assume all executory contracts. (See, Plan, Art. X) and does not

  indicate that any contracts are to be rejected (See, Plan, p. 6 Art. 6) – proposing cure payments on

  the initial distribution date.

          1.7     Nine proofs of claims were filed prior to the August 9, 2021 bar date. The total

  filed claims amount is $5,725,318.88, of which $1,903,092.11 are designated as secured claims

  and $0.00 are designated as priority claims.

          1.9     Debtor’s Plan appears to anticipate that available cash and homestead sales

  proceeds will be sufficient to make all required Plan payments, and does not require projected

  “disposable income” from future earnings to be used for Plan payments above the available cash

  and homestead sales proceeds. The Plan proposed treatment to creditors appears to require:

                      1) Current ad valorem tax claims for 2021, estimated at approximately

                          $51,000.00.

                      2) SouthStar Mortgage Claim of approximately $1,898,919.00.

                      3) General Unsecured Claims – substantially at $33,180.44.

  Debtor’s available cash, tax refund and projected net sales proceeds from the sale of her homestead

  of approximately $1.6 million, appear sufficient to satisfy all Plan requirements.

                                   II.   ARGUMENT/ AUTHORITY

          2.1     BANKRUPTCY CODE § 1191(a) provides that the court shall confirm a plan only if

  all the requirements under § 1129(a), other than paragraph (15) of § 1129 are met. Because §



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  1129(a)(15) no longer applies, debtors are not specifically required to file post-confirmation

  monthly reports in a Subchapter V case to the U.S. Trustee’s Office. Further, § 1129(a)(8) and

  (10) are not applicable if a plan is confirmed under § 1191(b). Consequently if all other § 1129(a)

  requirements are met including acceptance by all impaired classes under § 1129(a), the court is

  required to confirm a consensual plan; and, if requirements of § 1191(b) are satisfied, including

  requirements that plan not discriminate and is fair and equitable, the Court may confirm a

  nonconsensual plan. In re Pearl Res. LLC, 2020 Bankr. LEXIS 2683 (Bankr. S.D. Tex. 2020).

  Where the Subchapter V debtor can not obtain full consent for the Plan § 1191(b) sets the

  cramdown standards, replacing requirements under § 1129(b). In re Pearl Res., @ 29.

         2.2     BANKRUPTCY CODE § 1191(c) specifies that the provisions of a plan are to be fair

  and equitable, with respect to each class of claims, and includes the requirement that the plan

  provide for all projected “disposable income” received by the Debtor to be applied to make

  payments under the plan. Compliance with the projected disposable income requirement (or “best

  efforts”) is a mandatory condition for cramdown confirmation under § 1191(b). A GUIDE              TO

  SMALL BUSINESS REORGANIZATION ACT            OF   2019, p. 55, n. 205, Paul W. Bonapfel, U.S.

  Bankruptcy Judge, N.D. Ga., February 2020. In re Pearl Res., @ 65.

         2.3     BANKRUPTCY CODE § 1191(d) defines “disposable income” and provides for plan

  confirmation if all requirements of § 1129(a) are satisfied – except for § 1129(a)(8)(10) and (15)

  which are inapplicable. Included within § 1129(a) compliance requirements is § 1129(a)(7)(A)(ii)

  setting forth a liquidation test, requiring creditors to receive property of a value which is not less

  than the creditor would receive upon liquidation. Debtor’s Plan appears to utilize all available

  disposable income to the extent recovery to satisfy all allowed claims.




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         2.4     BANKRUPTCY CODE § 1186(a) provides if a plan is confirmed under § 1191(b) –

  property of the estate includes, in addition to property specified within § 541, all property the

  debtor acquires after the case is commenced [emphasis added] – but before the case is closed,

  dismissed or converted and § 1186(b) provides that debtor shall remain in possession of all

  property of the estate following plan confirmation until plan completion. Consequently the Plan

  should provide that all property of the estate and all post-confirmation income remains property of

  the post-confirmation estate until all Plan payments are made, if the Plan is confirmed under §

  1191(b). Article VI of the Plan contains provisions revesting all property of the estate in Debtor,

  which applies if the Plan is confirmed as a consensual plan under § 1191(a) – but not under §

  1191(b) – consequently, Plan provisions under Article VI ¶ 6.1 – requires modification if the Plan

  is confirmed under § 1191(b). All property of the estate is to remain property of the post-

  confirmation estate – including all post-confirmation property – which includes any additional

  income from whatever source if a case is confirmed under § 1191(b).

         2.5     A plan confirmed under § 1191(b) requires all plan payments to be contributed to

  the Sub V Trustee, who is to make plan payments under § 1194(b). Post-confirmation payment

  procedures, setting forth dates of payment, dates for disbursement and providing for determination

  of allowed claims, to the extent such process involve duties of the Sub V Trustee, should be

  included within the Plan in order to specify Sub V Trustee’s payment procedures and requirements.

  In addition compensation for any professionals retained, as well as the Sub V Trustee’s

  compensation must be provided within the Plan.

         2.6     BANKRUPTCY CODE § 1191(c)(3)(B) requires the Plan provide adequate remedies

  to protect holders of claims, in the event debtor fails to make the required payments. One explicate

  remedy referenced within § 1191(c)(3)(B) is the liquidation of non-exempt assets – intended to



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  protect holders of claims in the event Plan payments are not made. Rights to Debtor’s property

  must be preserved and unsecured creditors’ rights must include the opportunity to urge default

  remedies, including rights to convert the case to a Chapter 7 or for the appointment of a post-

  confirmation Trustee. The Plan does not appear to provide for default or rights of the creditors

  having allowed claims upon default, including rights to seek conversion, dismissal or liquidation.

         2.7     The Plan neglects to outline Sub V Trustee post-confirmation duties and rights nor

  does the Plan provide for post-confirmation compensation of the Sub V Trustee, if the Plan is

  confirmed under § 1191(b).

         2.8     Sub V Trustee’s recommendations to the Plan are:

                 A.     The Plan neglects to provide adequate remedies in the event of default as

                        required under § 1191(c)(3)(B). No default remedies are provided and

                        “liquidation” as specified under § 1191(c)(1)(B) is not included as a remedy

                        under the Plan. The Plan should be amended to provide adequate default

                        remedies.

                 B.     The Plan proposes the revesting of property in Debtor upon the Effective

                        Date (Plan, Article VI) which applies upon confirmation under § 1191(a).

                        However, if the Plan is confirmed under § 1191(b) – all property is to remain

                        property of the estate until all Plan payments have been made.

                 C.     Plan, Article XII, ¶ 12.2 provides for Debtor’s discharge upon confirmation

                        applicable upon confirmation under § 1191(a). However, if confirmed

                        under § 1191(b) discharge is not effected until completion of all payments

                        required under the Plan.




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              D.    Plan Article XII, ¶ 12.7 provides for the automatic stay to remain effect until

                    the Effective Date, however, if confirmed under § 1191(b) all property

                    remains property of the estate in the possession of Debtor under § 1186(b),

                    thereby resulting in the continuance of the automatic stay under § 362(c)(1).

              E.    The Plan neglects to contain provisions dealing with Sub V Trustee’s duties

                    and compensation if the Plan is confirmed under § 1191(b). The Plan

                    should contain the following provisions if confirmed under § 1191(b)

                    relating to the duties of the Sub V Trustee:

                       a. Sub V Trustee will act as disbursing agent.

                       b. During the payment period, the Sub V Trustee shall make all
                          payments of distributions to creditors from the Plan payments. Such
                          remittances shall occur no less frequently than fifteen (15) days after
                          the first day of each month following receipt of a Plan payment from
                          the Reorganized Debtor (a “Dividend Payment”) following
                          finalization of claims objections. The Sub V Trustee shall make such
                          distributions out from an account to be established by the Sub V
                          Trustee at an institution on the approved U.S. Trustee depository
                          list account, which shall be maintained by the Sub V Trustee for the
                          duration of the payment period until Plan consummation following
                          the final payment required under the Plan (the “Sub V Trustee
                          Account”).

                       c. Disbursements to Allowed Claimants. As soon as is reasonably
                          practicable after the Effective Date and following claims objections
                          resolutions, the Sub V Trustee shall initiate disbursement of Plan
                          payments from the Sub V Trustee Account, less amounts reserved
                          for the Sub V Trustee’s fees and expenses, to the holders of Allowed
                          Claims on a pro rata basis based on the total amount of Allowed
                          Claims. For the avoidance of doubt, the disbursement to holders of
                          Allowed Claims will be reduced in an amount equal to the Sub V
                          Trustee's fees and costs incurred as Sub V Trustee and allowed in
                          accordance with subparagraph (k) herein. The Reorganized Debtor
                          shall provide a list of claims, including Allowed Claims and
                          disputed claims to the Sub V Trustee on or about the same time when
                          funds are delivered directing the Sub V Trustee which claims are
                          “allowed claims” entitled to distribution, which claims are
                          unresolved requiring the Sub V Trustee to withhold funds as

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                           required in subparagraph (e) herein and which claims constitute
                           disallowed claims entitled to no distribution.

                       d. Addresses for Disbursements. Disbursements shall occur by check
                          drawn on the Trustee Account and may be delivered by the Sub V
                          Trustee to (i) the address for payment set forth on a proof of claim
                          filed by the Holder or its authorized agent, (ii) at the address set forth
                          in any written notices of change of address delivered to the Sub V
                          Trustee at Michael G. Colvard, Martin & Drought, P.C., 112 East
                          Pecan Street, Suite 1616, San Antonio, TX 78205, or (iii) if the
                          Holder has not filed a proof of claim or otherwise provided the
                          Trustee with notice of its address, in the address set forth in the
                          applicable schedule filed by the Reorganized Debtors in this case. If
                          any distribution to a Holder of an Allowed Unsecured Claim is
                          returned to the Sub V Trustee as undeliverable, no further
                          distributions shall be made to such Holder unless and until the Sub
                          V Trustee is notified in writing of such Holder's then-current address
                          or other necessary information for delivery, at which time all
                          currently due missed distributions shall be made to such Holder as
                          soon as practicable. Undeliverable distributions shall remain in the
                          possession of the Sub V Trustee until such time as a distribution
                          becomes deliverable and shall not be supplemented with any
                          interest, dividends or other accruals of any kind. If, despite
                          reasonable effort, the Sub V Trustee is unable to obtain the
                          information necessary to deliver a distribution within six months
                          following the return of the undeliverable distribution, the Sub V
                          Trustee shall be authorized to treat such Holder's current and future
                          claims as an Unclaimed Distribution (defined below).

                       e. No Fractional Disbursements. Notwithstanding anything contained
                          herein to the contrary, payments of fractional dollars will not be
                          made. Whenever any payment of a fraction of a dollar under the Plan
                          would otherwise be called for, the actual payment made will reflect
                          a rounding down of such fractions.

                       f. Time Bar to Cash Distributions. Holders of Allowed Claims shall
                          have 120 days from the date of issuance to negotiate a check issued
                          by the Sub V Trustee on account of distribution. If a Holder fails to
                          negotiate a disbursement check within this 120-day period, the
                          Trustee shall have the right to void the check, and any current and
                          future claims of such Holder to the Dividend shall be treated as an
                          Unclaimed Distribution (defined below).

                       g. Unclaimed Distributions and Reversion. Any distribution made by
                          the Sub V Trustee to a Holder of an Allowed Claim under this
                          paragraph that is undeliverable for more than six months for lack of

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                          address, cannot be made on account of such Holder's failure to
                          comply with the Withholding Requirements set forth in
                          subparagraph (e) above, or has not been negotiated within 120 days
                          from the date of issuance on the distribution check shall become an
                          "Unclaimed Distribution." Unclaimed Distributions shall be deemed
                          unclaimed property under section 347(d) of the Bankruptcy Code
                          and shall revest with the Reorganized Debtors and held by the Sub
                          V Trustee within the Sub V Trustee Account. The Claim of any
                          Holder or its successors with respect to such property shall be
                          cancelled, discharged, and forever barred notwithstanding any
                          applicable federal or state escheat, abandoned or unclaimed property
                          laws, or any provisions in any document governing the distribution
                          that is an Unclaimed Distribution, to the contrary. Unclaimed
                          Distributions shall be distributed by the Sub V Trustee to the
                          remaining Holders of Allowed Claims, which distribution shall be
                          effectuated through the subsequent distributions provided for under
                          the Plan as if the Claim underlying such Unclaimed Distribution had
                          been disallowed.

                       h. No Liability. Following entry of the Confirmation Order, any
                          disbursements made by the Trustee on account of a Claim are
                          deemed authorized disbursements, and the Sub V Trustee shall have
                          no liability for these disbursements. The Sub V Trustee's obligations
                          are limited to acting as the disbursement agent under the Plan, and
                          the Sub V Trustee shall have no liability to any person in the event
                          that the Reorganized Debtor fails to timely deliver payments to the
                          Sub V Trustee, or otherwise fails to perform its obligations under
                          the Plan. The Sub V Trustee shall have no obligation to disburse
                          Dividend Payments unless and until he determines that there are
                          adequate funds in the Sub V Trustee Account to cover a distribution
                          to Holders, net of the Sub V Trustee's fees and costs. The Sub V
                          Trustee shall not have any obligations to pursue and/or manage the
                          Reorganized Debtors’ pursuit of Causes of Action.

                       i. Reporting. The Sub V Trustee shall file all reports required by the
                          United States Trustee in the manner prescribed by the United States
                          Trustee Program. Upon the completion of the Plan, the Sub V
                          Trustee shall file his final report and seek a discharge of his duties
                          as Sub V Trustee.

                       j. Notices. The Sub V Trustee may limit notice of any and all reports,
                          documents, pleadings or other filings related to this case to those
                          parties directly affected and to those interested parties which have
                          filed a notice of appearance or proofs of claim, as necessary. The
                          Sub V Trustee shall be under no obligation to serve parties which



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                         are neither affected by any report, document, pleading or other filing
                         or have made no appearance whatsoever before this Court.

                      k. Post-Confirmation Fees and Expenses of the Sub V Trustee. The
                         Sub V Trustee shall be entitled to recoup reasonable fees and costs
                         incurred performing his obligations as Sub V Trustee under this
                         paragraph from the Plan Payments by submitting a fee and expense
                         statement to the Reorganized Debtors, the Office of the United
                         States Trustee, and Holders of Allowed Claims (the "Notice
                         Parties"). The Sub V Trustee shall be compensated for his post-
                         confirmation duties at his normal hourly rate and shall be paid from
                         the amounts paid by the Debtor for Plan Payments. The amount
                         distributed or reserved to creditors will be net of the amounts
                         remitted by the Reorganized Debtor to the Sub V Trustee. The Sub
                         V Trustee’s fees and expense shall be disclosed in the quarterly
                         report filed with the Court. All parties in interest will have 21 days
                         after the quarterly report is filed to object to the Sub V Trustee’s fees
                         and expenses disclosed therein. If no objection is received, the Sub
                         V Trustee may disburse his fees and expenses from the Plan
                         Payments without further order of the Court.

                      l. Distributions by the Sub V Trustee on Disputed Claims. Except as
                         otherwise provided in the Plan, no partial distributions will be made
                         with respect to a Disputed Claim until the resolution of such dispute
                         by settlement or Final Order. Unless otherwise agreed to by the
                         Reorganized Debtors or as otherwise specifically provided in the
                         Plan, a Holder who holds both an Allowed Claim and a Disputed
                         Claim will not receive a distribution until such dispute is resolved
                         by settlement or Final Order. The provisions of this section are not
                         intended to restrict payment of any Allowed Unsecured Claims
                         which are not disputed. Until a disputed claim is resolved, payment
                         distributions to claimants holding disputed claims will be retained
                         by the Sub V Trustee subject to a final resolution of the Disputed
                         Claim. Upon resolution in favor of the Allowed Claim the Sub V
                         Trustee will distribute withheld funds within the next payment
                         period. If the Disputed Claim is disallowed, the Sub V Trustee will
                         make withheld funds available to allowed claim holders within the
                         next payment period.

                      m. Additional Post-Confirmation Duties of the Sub V Trustee. In
                         addition to the duties set forth above and as set forth under 11 U.S.C.
                         § 1183, duties of the Trustee include those relating to:

                         i.      The right to appear and be heard in any post-confirmation
                                 hearing in relation to any issue arising within the post-
                                 confirmation affairs of the reorganized Debtor;

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                                ii.    Right to acquire required bonding, which costs are to be
                                       satisfied out of Debtor’s Plan Payments under 11 U.S.C. §
                                       1191(d);

                                iii.   Right to take all steps necessary to ascertain allowed claim
                                       amounts, to prepare and issue claims recommendations and
                                       to obtain court determinations on amounts of allowed claims
                                       and distributions;

                                iv.    Other matters reasonably necessary to ensure that the Plan
                                       Payments are made on a full and timely basis, and filing of a
                                       final report.

                 F.     Bankruptcy Code § 1186(a) requires all debtor’s property to remain

                        property of the estate until all plan payments have been made if a plan is

                        confirmed under § 1191(b). The Plan does not account for § 1186(b),

                        specifying that property of the estate does not vest unto Debtor until all

                        payments are made, if a plan confirmed under § 1191(b) – and that all such

                        property remains property of the estate until all Plan payments are made.

                 G.     The Plan contains no reporting requirements if a plan is confirmed under §

                        1191(b) –providing reasonable and necessary information to the post-

                        confirmation Sub V Trustee/Distributing Agent regarding plan compliance

                        requirements, i.e., monthly financial reports, bank statements and

                        confirming Debtor’s post-confirmation plan performances/compliances.

                                             PRAYER

          WHEREFORE PREMISES CONSIDERED, Sub V Trustee prays that the Court confirm

  the Plan subject to Plan modifications consistent with Sub V Trustee’s recommendations and, for

  such other relief at law and equity to which Sub V Trustee may be justly entitled.




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                                                       Respectfully Submitted,

                                                       MARTIN & DROUGHT, P.C.
                                                       Weston Centre
                                                       112 East Pecan Street, Suite 1616
                                                       San Antonio, Texas 78205
                                                       Telephone: (210) 227-7591
                                                       Facsimile: (210) 227-7924
                                                       E-Mail: mcolvard@mdtlaw.com

                                                       By: /s/Michael G. Colvard
                                                           Michael G. Colvard
                                                           State Bar No. 04629200

                                                       SUBCHAPTER V TRUSTEE

                                  CERTIFICATE OF SERVICE

         I hereby certify that on October 20, 2021, a true and correct copy of the foregoing document
  was served electronically by the Court’s Electronic Case Filing system, and by first-class U.S.
  Mail on the parties listed on the attached Service List.

                                               /s/ Michael G. Colvard
                                               Michael G. Colvard




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